CaSe 19-OO700-LA7 Filed 02/22/19 Entered 02/22/19 15231256 DOC 16 PQ. 1 Ol 3

Fill in this information to identify your case:

Debtori Bernice Andrea Ratciii"fe
Firet blame Midd|e Name Lasl blame

Debef 2 Gabrlel Jonathon Ratcliffe
{SpOLlSe il. lllirigj Firsl Narne Middle blame Lasl Name

 

 

Uniled Staies Bankruptcy Courl for the.' SOUTHERN DlSTR|CT OF CALlFORN|A

 

Case number
(ifknowni m ChECl( ll this lS 3|‘|
amended filing

 

 

 

Or‘ficial Form 108
Statement of intention for individuals Fi|ing Under Chapter 7 mrs

 

li you are an individual filing under chapter ?, you must fill out this form if:
- creditors have claims secured by your property. or

- you have leased personal property and the lease has not expired

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

lf two married people are filing together in ajoint case, both are equally responsible for supplying correct infom'lation. Both debtors must
sign and date the form.

Be as complete and accurate as possible lt more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number lif known).

List Your Creditors Who Have Secured Claims

l. For any creditors that you listed in Part1 cf Schedule D: Credltors Who Have Claims Secured by Property {Official Form 1060}, fill in the
information below.

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C-‘?
CVEdl'fOl"S CAP|TAL ONE AUTO FINANCE l:l Surrender the property l:l NO
name? l:l Retain the property and redeem it.
- Retain the property and enter into a - Y@S

De$€fipiion cf 2014 Toyota Tundra 80,000 Ream-man-On Ag,,eemem_

property miles l:l Retain the property and [explain];
securing debt

 

 

CI‘GClilOF'S LENDMARK l:l Surrender the property l:l No
name: l:l Retain the property and redeem it.
- Relain the property and enter into a - Ye$

Description al 2009 LEXUS lS 300 120000 miles
property SPOI‘£S Sedan 4D

securing debt

Reaffir‘ma!r`on Agreement.
l:l Relain the property and [explain]:

 

 

met Your Unexpired Persona| Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases {Official Form 1066], fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p){2).

Describe your unexpired personal property leases Wi|l the lease be assumed?

Oflicial Form 108 Statement of intention for individuals Fillng Uncler Chapter 7 page 1

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Debtor1 Bernice Andrea Ratc|iffe

 

 

DeblOfZ Gabriel Jonathon Ratcliffe CaS\=-' numberrrfrnown)
Lessor's name: ij No
Descriplion of leased

Property: m Yes
Lessor's name: m No
Description of leased

Property: |:| YBS
Lessor‘s name: ij No
Description of leased

Propenty: l:l Yes
Lessor's name: |:| No
Description of leased

Property: |:| Ye$
Lessor's name.l |:| No
Description of leased

Properry: l:l Yes
Lessor's name: |:l No
Descriplion of leased

Property: m Yes
Lessor's name: |:| No
Description of leased

Property: n Ye$

Sign Below

Under penalty of perjury, l declare thatl have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 

 

 

 

 

X lsi Bernice Andrea Ratcliffe X lsi Gabriel Jonathon Ratcliffe
Bernice Andrea Ratc|iffe Gabrie| Jonathon Ratc|iffe
Signature of Debtor 1 Signature of Debtor 2
Dal€ February 21, 2019 Dale February 21, 2019
Ofncial Form 108 Statement of lntantion for individuals Filing Under Chapter T page 2

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Offroial Form 108
Statement of intention for individuals Filirrg Uoder Chapter 7 iam

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